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____________________________________________________________________________
                                                         SO ORDERED,




                                                         Judge Jason D. Woodard
                                                         United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
____________________________________________________________________________

                               UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF MISSISSIPPI
 IN RE:                                                                                   CHAPTER 13
 ELIZABETH MACK                                                               CASE NO.: 21-10487

                             ORDER CONFIRMING CHAPTER 13 PLAN

        The debtor’s plan was filed on March 12, 2021, and amended/modified by subsequent order(s) of
the court, if any. The plan was transmitted to creditors pursuant to Bankruptcy Rule 3015. The court finds
that      the      plan     meets      the      requirements        of    11     U.S.C.      §      1325.

IT IS ORDERED THAT:

1. The debtor’s chapter 13 plan attached hereto is confirmed.

2. The following motions are granted (if any):

    a. Motion for valuation of security, payment of fully secured claims, and modification of
       undersecured claims made under Rule 3012 (§ 3.2 of the plan);
    b. Motion to avoid lien pursuant to Section 522 (§ 3.4 of the plan).

3. The stay under Section 362(a) is terminated as to the collateral only and the stay under Section 1301 is
   terminated in all respects regarding collateral listed in Section 3.5 of the plan (if any).

4. All property shall remain property of the estate and shall vest in the debtor only upon entry of discharge.
   The debtor shall be responsible for the preservation and protection of all property of the estate not
   transferred to the trustee.

5. The debtor’s attorney is awarded a fee in the amount of $3600.00 of which $1913.00 is due and payable
   from the estate.

                                          ##END OF ORDER##
Approved:


___________________
Attorney for the Debtor

Submitted by:
Locke D. Barkley, Ch. 13 Trustee
6360 I-55 North, Suite 140
Jackson, Miss. 39211
(601) 355-6661
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Fill in this information to identify your case:

  Debtor 1              Elizabeth Mack
                        Full Name (First, Middle, Last)



  Debtor 2
                                                                                                                               Check if this is an amended
  (Spouse, if filing)   Full Name (First, Middle, Last)
                                                                                                                               plan, and list below the
                                                                                                                               sections of the plan that have
  United States Bankruptcy Court for the: Northern         District of Mississippi                                             been changed.

  Case number           21-10487
  (If known)




Chapter 13 Plan and Motions for Valuation and Lien Avoidance                                                                                               12/17


Part 1:                 Notices

To Debtors:             This form sets out options that may be appropriate in some cases, but the presence of an option on the form
                        does not indicate that the option is appropriate in your circumstances or that it is permissible in your judicial
                        district. Plans that do not comply with local rules and judicial rulings may not be confirmable. The treatment of
                        ALL secured and priority debts must be provided for in this plan.

                        In the following notice to creditors, you must check each box that applies.

To Creditors:           Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                        You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not
                        have an attorney, you may wish to consult one.
                        If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an
                        objection to confirmation on or before the objection deadline announced in Part 9 of the Notice of Chapter 13
                        Bankruptcy Case (Official Form 309I). The Bankruptcy Court may confirm this plan without further notice if no
                        objection to confirmation is filed. See Bankruptcy Rule 3015.
                        The plan does not allow claims. Creditors must file a proof of claim to be paid under any plan that may be confirmed.
                        The following matters may be of particular importance. Debtors must check one box on each line to state whether or
                        not the plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are
                        checked, the provision will be ineffective if set out later in the plan.


  1.1        A limit on the amount of a secured claim, set out in Section 3.2, which may result in a                     ✔   Included             Not included
             partial payment or no payment at all to the secured creditor
  1.2        Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set                         Included         ✔   Not included
             out in Section 3.4
  1.3        Nonstandard provisions, set out in Part 8                                                                   ✔   Included             Not included




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Part 2:             Plan Payments and Length of Plan

2.1 Length of Plan.
The plan period shall be for a period of 60 months, not to be less than 36 months or less than 60 months for above median income debtor(s). If
fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the payments to creditors
specified in this plan.


2.2 Debtor(s) will make regular payments to the trustee as follows:
Debtor shall pay $ 2,107.00
                     $2,124.00 ( ✔ monthly ,       semi-monthly ,     weekly , or   bi-weekly ) to the chapter 13 trustee. Unless otherwise ordered by
the court, an Order directing payment shall be issued to the debtor’s employer at the following address:

                                   Debtor to pay direct via ACH




Joint Debtor shall pay $               ( monthly ,      semi-monthly ,      weekly , or bi-weekly ) to the chapter 13 trustee. Unless otherwise ordered
by the court, an Order directing payment shall be issued to the joint debtor’s employer at the following address:




2.3 Income tax returns/refunds.
   Check all that apply .
   ✔     Debtor(s) will retain any exempt income tax refunds received during the plan term.
         Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the return and will turn over
         to the trustee all non-exempt income tax refunds received during the plan term.
         Debtor(s) will treat income tax refunds as follows:




2.4 Additional payments.
   Check one.
   ✔     None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.
         Debtor(s) will make additional payment(s) to the trustee from other sources, as specified below. Describe the source, estimated amount, and date
         of each anticipated payment.




Part 3:             Treatment of Secured Claims

3.1 Mortgages. (Except mortgages to be crammed down under 11 U.S.C. § 1322(c)(2) and identified in § 3.2 herein.)
   Check all that apply.
         None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

3.1(a)     ✔   Principal Residence Mortgages: All long term secured debt which is to be maintained and cured under the plan pursuant to 11 U.S.C. §
               1322(b)(5) shall be scheduled below. Absent an objection by a party in interest, the plan will be amended consistent with the proof of claim
               filed by the mortgage creditor, subject to the start date for the continuing monthly mortgage payment proposed herein.




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          1st   Mtg pmts to 21st Mortgage

          Beginning June 2021                                                       1,242.04
                                                                               @ $ 1,250.35           ✔   Plan     Direct. Includes escrow   ✔   Yes   No




          1st                                                                                                                                    16,290.40
                Mtg arrears to 21st Mortgage                                                                  Through May 2021               $ 11,000




3.1(b)    Non-Principal Residence Mortgages: All long term secured debt which is to be maintained and cured under the plan pursuant to 11
          U.S.C. § 1322(b)(5) shall be scheduled below. Absent an objection by a party in interest, the plan will be amended consistent with the proof
          of claim filed by the mortgage creditor, subject to the start date for the continuing monthly mortgage payment proposed herein.


          Property 1 address:

          Mtg pmts to

          Beginning                                                  @$                                   Plan     Direct. Includes escrow       Yes   No




           Property 1: Mtg arrears to                                                                         Through                        $




3.1(c)    Mortgage claims to be paid in full over the plan term: Absent an objection by a party in interest, the plan will be amended consistent
          with the proof of claim filed by the mortgage creditor.

          Creditor:                                                                                       Approx. amt. due:              Int. Rate*:

          Property Address:

          Principal Balance to be paid with interest at the rate above:
          (as stated in Part 2 of the Mortgage Proof of Claim Attachment)


          Portion of claim to be paid without interest: $
          (Equal to Total Debt less Principal Balance)


          Special claim for taxes/insurance: $                                    /month, beginning
          (as stated in Part 4 of the Mortgage Proof of Claim Attachment)


          *Unless otherwise ordered by the court, the interest rate shall be the current Till rate in this District.

          Insert additional claims as needed.




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3.2 Motion for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

       None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
       The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.
   ✔   Pursuant to Bankruptcy Rule 3012, for purposes of 11 U.S.C. § 506(a) and § 1325(a)(5) and for purposes of determination of the amounts to be
       distributed to holders of secured claims, debtor(s) hereby move(s) the court to value the collateral described below at the lesser of any value set
       forth below or any value set forth in the proof of claim. Any objection to valuation shall be filed on or before the objection deadline announced in
       Part 9 of the Notice of Chapter 13 Bankruptcy Case (Official Form 309I).

       The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5 of this plan. If
       the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be treated in its entirety as an
       unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the creditor’s total claim listed on the proof of
       claim controls over any contrary amounts listed in this paragraph.


                                                  Estimated amount of                                                        Amount of
                   Name of creditor                                                 Collateral       Value of collateral                     Interest rate*
                                                 creditor’s total claim #                                                  secured claim

             Magnolia Federal Credit
             Union                              $10,007.04
                                                        $11,700                2004 Hummer H2             $9,540.00          $9,540.00             5.25

             Royal Furniture                    $864.73$926.00                 Furniture                   $300.00           $300.00               5.25
             Heartland Capital
             Investments, LLC                    $5,146.17
                                                       $6,000.00               Painted Garage             $6,500.00          $5,146.17
                                                                                                                             $6,000.00             5.25




       Insert additional claims as needed.

       #For mobile homes and real estate identified in § 3.2: Special Claim for taxes/insurance:


                                                                                                             Amount per
                           Name of creditor                                   Collateral                                               Beginning
                                                                                                               month




       *Unless otherwise ordered by the court, the interest rate shall be the current Till rate in this District.

       For vehicles identified in § 3.2: The current mileage is



3.3 Secured claims excluded from 11 U.S.C. § 506.
   Check one.
   ✔   None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
       The claims listed below were either:
       (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired for the
            personal use of the debtor(s), or

       (2)   incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.

       These claims will be paid in full under the plan with interest at the rate stated below. Unless otherwise ordered by the court, the claim amount
       stated on a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed below. In the
       absence of a contrary timely filed proof of claim, the amounts stated below are controlling.


                                 Name of creditor                                            Collateral                     Amount of claim Interest rate*




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                                 Name of creditor                                            Collateral                     Amount of claim Interest rate*




       *Unless otherwise ordered by the court, the interest rate shall be the current Till rate in this District.

       Insert additional claims as needed.


3.4 Motion to avoid lien pursuant to 11 U.S.C. § 522.
   Check one.
   ✔   None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
       The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.
       The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to which the
       debtor(s) would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the court, a judicial lien or security interest securing a
       claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the order confirming the plan unless the creditor files
       an objection on or before the objection deadline announced in Part 9 of the Notice of Chapter 13 Bankruptcy Case (Official Form 309I). Debtor(s)
       hereby move(s) the court to find the amount of the judicial lien or security interest that is avoided will be treated as an unsecured claim in Part 5 to
       the extent allowed. The amount, if any, of the judicial lien or security interest that is not avoided will be paid in full as a secured claim under the
       plan. See 11 U.S.C. § 522(f) and Bankruptcy Rule 4003(d). If more than one lien is to be avoided, provide the information separately for each lien.

                                                                                                                                       Lien identification
                                                                                                                                         (county, court,
                                                                      Lien amount to be Secured amount                              judgment date, date of
               Name of creditor         Property subject to lien                                                    Type of lien
                                                                           avoided         remaining                                lien recording, county,
                                                                                                                                     court, book and page
                                                                                                                                            number)




       Insert additional claims as needed.



3.5 Surrender of collateral.
   Check one.
       None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
   ✔   The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s) request that upon
       confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay under § 1301 be terminated in
       all respects. Any allowed unsecured claim resulting from the disposition of the collateral will be treated in Part 5 below.

                                        Name of creditor                                                              Collateral

             Ally Auto                                                                   2018 Chevrolet Camaro

             Money Matters                                                               2006 Land Rover LR3




       Insert additional claims as needed.




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Part 4:           Treatment of Fees and Priority Claims

4.1 General
   Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full without
   postpetition interest.



4.2 Trustee’s fees
   Trustee’s fees are governed by statute and may change during the course of the case.



4.3 Attorney’s fees
    ✔    No look fee:   $ 3,600.00                            .

         Total attorney fee charged:         $ 3,600.00                                    .

         Attorney fee previously paid:       $ 1,687.00                                    .

         Attorney fee to be paid in plan
         per confirmation order:         $ 1,913.00                                        .

         Hourly fee:    $                                     . (Subject to approval of Fee Application.)


4.4 Priority claims other than attorney’s fees and those treated in § 4.5.
   Check one.
   ✔    None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

        Internal Revenue Service         $                                             .

        Mississippi Dept. of Revenue $                                                 .

        Other
        $                                                 .


4.5 Domestic support obligations.
   ✔    None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.
  DUE TO:


             POST PETITION OBLIGATION: In the amount of $                                         per month beginning
             To be paid     direct,      through payroll deduction, or     through the plan.




             PRE-PETITION ARREARAGE: In the total amount of $                              through                                      which shall be paid
             in full over the plan term, unless stated otherwise:
             To be paid     direct,      through payroll deduction, or     through the plan.




        Insert additional claims as needed.




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Part 5:          Treatment of Nonpriority Unsecured Claims

5.1 Nonpriority unsecured claims not separately classified.
   Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option providing
   the largest payment will be effective. Check all that apply.

       The sum of $                        .

   ✔       100      % of the total amount of these claims, an estimated payment of $ 12,513.76            .

       The funds remaining after disbursements have been made to all other creditors provided for in this plan.

       If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $ 50,000.00              .
       Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2 Other separately classified nonpriority unsecured claims (special claimants). Check one.

   ✔   None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.
       The nonpriority unsecured allowed claims listed below are separately classified and will be treated as follows

                                                                Basis for separate            Approximate amount
                          Name of creditor                                                                                   Proposed treatment
                                                           classification and treatment              owed




Part 6:          Executory Contracts and Unexpired Leases

6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts
    and unexpired leases are rejected. Check one.

   ✔   None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.
       Assumed items. Current installment payments will be disbursed either by the trustee or directly by the debtor(s), as specified below, subject to
       any contrary court order or rule. Arrearage payments will be disbursed by the trustee. The final column includes only payments disbursed by the
       trustee rather than by the debtor(s).

                                                   Description of leased              Current          Amount of
                      Name of creditor             property or executory            installment      arrearage to be         Treatment of arrearage
                                                         contract                    payment              paid
                                                                                $                    $
                                                                                Disbursed by:
                                                                                    Trustee
                                                                                    Debtor(s)




        Insert additional claims as needed.




Part 7:          Vesting of Property of the Estate

7.1 Property of the estate will vest in the debtor(s) upon entry of discharge.




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Part 8:          Nonstandard Plan Provisions

8.1 Check “None” or List Nonstandard Plan Provisions
        None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.
Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the
Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3.

      a. Upon the filing of an Official Form 410S2 Notice of Postpetition Mortgage Fees, Expenses, and Charges, and absent any objection
      being filed within 60 days after the filing of said Notice, the Trustee is authorized to pay the amount contained in the Notice as a special
      claim over the remaining plan term and adjust the plan payment accordingly. This does not constitute a waiver right to object to the
      Notice within one year pursuant to Rule 3002.1(e) of the Federal Rules of Bankruptcy Procedure.

      b. Capital One Auto Finance is being paid outside of the plan by debtor's daughter in law.




Part 9:          Signature(s):

9.1 Signatures of Debtor(s) and Debtor(s)’ Attorney
The Debtor(s) and attorney for the Debtor(s), if any, must sign below. If the Debtor(s) do not have an attorney, the Debtor(s) must provide their complete
address and telephone number.



   8      /s/Elizabeth Mack
          Signature of Debtor 1
                                                                                  8     Signature of Debtor 2

          Executed on      03/12/2021                                                   Executed on
                           MM / DD / YYYY                                                                MM / DD / YYYY

               1313 Taska Rd
               Address Line 1                                                                Address Line 1


               Address Line 2                                                                Address Line 2

               Red Banks, MS 38661
               City, State, and Zip Code                                                     City, State, and Zip Code


               Telephone Number                                                              Telephone Number




   8      /s/William L. Fava
          Signature of Attorney for Debtor(s)
                                                                                Date    03/12/2021
                                                                                        MM / DD / YYYY

               Fava Firm
               Address Line 1

               P.O. Box 783
               Address Line 2

               Southaven, MS 38671
               City, State, and Zip Code

               (662)536-1116               101348
               Telephone Number            MS Bar Number

               wfava@favafirm.com
               Email Address




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